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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF MARYLAND
                                Greenbelt Division

In re:                                         *
                                               *
PARKING MANAGEMENT, INC.                       *       Case No. 20-15026-TJC
                                               *       Chapter 11 (Subchapter V)
                       Debtor.                 *
                                               *
*        *     *       *       *       *       *       *       *       *       *      *       *

                   DEBTOR’S CHAPTER 11 SUBCHAPTER V PLAN
                              Dated August 5, 2020

 Parking Management, Inc., the above-captioned debtor and debtor-in-possession (the
“Debtor”), proposes the following Plan under § 1190 and § 1191 of Title 11 of the United
States Code (the “Bankruptcy Code”). A brief history of the Debtor’s business operations is
attached hereto as Appendix A.

All creditors and equity security holders should refer to Articles III through VII of this Plan for
information regarding the precise treatment of their claims or interests. Your rights may be
affected. You should read these papers carefully and discuss them with your attorney, if
you have one. (If you do not have an attorney, you may wish to consult one.) This Plan
is a proposal by the Debtor and subject to court approval after opportunity for objections
and a hearing. Please refer to Scheduling Order __ [Dkt. __] for important information
regarding Plan voting and objection deadlines.

                                 Article I. Source of Payments

During the term of this Plan, the Debtor shall submit the disposable income (or value of such
disposable income) necessary for the performance of this plan to the Subchapter V Trustee (the
“Trustee”) and shall pay the Trustee or her designee the sums set forth herein. Specifically, all
of the Debtor’s net operating income (includes (1) gross cash operating revenues, less (2) all
expenses and the funding of capital expense and operating reserves (“NOI”) for 36 months
shall be delivered to the Trustee or her designee for distribution to creditors.

                                     Article II. Plan Term

The term of this Plan begins on the date of entry of a final order confirming this Plan or such
other date as the Court may determine in the Plan confirmation order to be the Plan’s effective
date and ends on the 36th month subsequent to that date.

                       Article III. General Distributions under Plan

The value of the property to be distributed under the Plan during the term of the Plan is not less
than the Debtor’s projected NOI for that same period. Unsecured creditors holding allowed
claims will receive distributions, which the Debtor has estimated at approximately 31 cents on



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the dollar.1 The Plan also provides for the payment of administrative and priority claims in
accordance with the Bankruptcy Code.

               Article IV. Classification and Treatment of Claims and Interests

    1. The Debtor has classified all claims and interests in accordance with §§ 1122, 1123,
       and 1190 of the Bankruptcy Code. A chart detailing each class of claims or interests
       under the Plan, and the Debtor’s proposed treatment for each is attached hereto as
       Appendix B.

    2. All parties claiming administrative expense priority (including unsecured claims)
       pursuant to § 507(a)(2) of the Bankruptcy Code but not already treated as such under
       this plan, shall file an application to approve their respective asserted administrative
       claim priority status no later than fifteen (15) days after the Effective Date. Any claim
       that is granted administrative expense priority shall receive the treatment set forth in
       Appendix B.

    3. Disputed Claims:

             a. A disputed claim is a claim that has not been allowed or disallowed by a final
                non-appealable order and, either:

                       i. A proof of claim has been filed or deemed filed, and the Debtor has filed
                          an objection; or

                      ii. No proof of claim has been filed, and the Debtor has scheduled such
                          claim as disputed, contingent or unliquidated so that such claim is
                          disallowed.

             b. Delay of Distribution on a Disputed Claim: No distribution will be made on a
                disputed claim unless the claim is resolved consensually or is allowed by a final
                non-appealable order. Except to the extent the Court orders otherwise, a reserve
                shall be established from any distribution to creditors sufficient to pay the pro
                rata share of any distribution that would be allocated to any holder of a disputed
                claim on account of such disputed claim in the event that such disputed claim
                were allowed. At the time such disputed claim is allowed by entry of a final
                order, the holder thereof shall receive the amount of any reserve to which it is
                entitled based upon the allowed amount of its claim. To the extent a disputed
                claim is disallowed, the amount reserved on account of such claim shall be
                redistribute pro rata on account of allowed claims in the same class as the
                disputed claim, provided, however, that no holder of an allowed claim shall
                receive a distribution that exceeds 100% of the allowed amount of such holder’s
                claim.

             c. Settlement of Disputed Claims: The Debtor will have the power and authority
                to settle and compromise a disputed claim with court approval and compliance
                with Federal Rule of Bankruptcy Procedure 9019.

1
 In the event that the PPP loan is forgiven, in part or in whole, there may be more funds to distribute to unsecured
creditors.


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                      Article V. Payments to Creditors under Plan

Unless otherwise provided in this Plan or indicated on Appendix B, funds received by the
Trustee or her designee or otherwise included in this Plan shall be used to pay the following
claims in the priority indicated:

       1.      Except as provided in § 1191(e) of the Bankruptcy Code, all claims entitled to
               priority under § 507 of the Bankruptcy Code shall be paid in accordance with
               § 1129(a)(9) of the Bankruptcy Code and as set forth on Appendix B.

       2.      Pursuant to § 1191(e) of the Bankruptcy Code, the payment of claims entitled
               to priority under § 507(a)(2) and § 507(a)(3) of the Bankruptcy Code shall be
               paid under the Plan as set forth on Appendix B.

       3.      After payment of the foregoing claims, sums received by the Trustee or her
               designee shall be paid, on a pro-rata basis, to holders of allowed general
               unsecured claims on account of such allowed claims

       4.      In accordance with § 1191 of the Bankruptcy Code and the terms of this Plan,
               the Debtor’s equity security holders shall retain their interests in the Debtor.

                            Article VI. Trustee Compensation

The Trustee shall be paid for services rendered in this Chapter 11 case as an administrative
claim under § 507 of the Bankruptcy Code and pursuant to Article IV of this Plan, as set forth
on Appendix B. All fees and expenses requested by the Trustee are subject to review and
approval by the Court under §§ 329 and 330 of the Bankruptcy Code.

                   Article VII. Debtor’s Professionals’ Compensation

The Debtor’s attorney, Michael J. Lichtenstein, Esquire, Shulman, Rogers, Gandal, Pordy &
Ecker, P.A. and the Debtor’s financial advisor JW Infinity Consulting, LLC and Jolene Wee
shall be paid for the services rendered to the Debtor herein as an administrative claim under
§ 507 of the Bankruptcy Code and pursuant to Article IV of this Plan, as set forth on
Appendix B. All fees and expenses requested by the Debtor’s attorney, including those on
Appendix B, are subject to review and approval by the Court under §§ 329 and 330 of the
Bankruptcy Code.

                            Article VIII. Liquidation Analysis

Attached hereto as Appendix C is the Liquidation Analysis required by § 1190(1)(B) of the
Bankruptcy Code and the Local Rules of this Court.

               Article IX. Debtor’s Disposable Income and Plan Funding

An exhibit describing (i) the Debtor’s projected NOI as defined by § 1191(d) of the Bankruptcy
Code, (ii) the details supporting and the assumptions under which said projections were made,




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(iii) the source and value of funds and assets available for distribution under the Plan, and (iv) a
summary of payments under this Plan is attached as Appendix D.

                   Article X. Executory Contracts and Unexpired Leases

12.01 Assumption. Pursuant to § 365 of the Bankruptcy Code, the Debtor assumes each
executory contract and unexpired lease listed on Appendix E, effective upon the Effective
Date. To the extent the Debtor proposes to make cure payments as may be required under
§ 365(b), those cure payments shall be made as set forth on Appendix E.

12.02. Rejection. The Debtor will be conclusively deemed to have rejected all executory
contracts and unexpired leases not (i) expressly listed on Appendix F and assumed under this
Plan or (ii) previously assumed, and if applicable assigned, before the Effective Date; or
(iii) that are the subject of a pending motion to assume (and if applicable, assign). A proof of
claim arising from the rejection of an executory contract or an unexpired lease under the Plan
must be filed with the Court and served on the Trustee and the Debtor no later than 30 days
after the Effective Date.

                    Article XI. Property Vests in Debtor Free and Clear

Except as provided in this Plan or the Order confirming this Plan, all of the property of the
estate, pursuant to §§ 1141(b) and 1141(c) of the Bankruptcy Code, vests in the Debtor as of
the Effective Date free and clear of any claim or interest of any creditor provided for by this
Plan.

              Article XII. Confirmed Plan Binding on Debtor and Creditors

Except as provided in §§ 1141 or 1192 of the Bankruptcy Code, as applicable, the provisions
of this Plan shall, upon confirmation, bind the Debtor, each and every creditor of this estate
and each party in interest, whether or not the claim of such creditor or party is provided for by
the Plan and whether or not such creditor or party has accepted or has rejected the Plan.

                                    Article XIII. Discharge

On the confirmation date of this Plan, and subject to the occurrence of the Effective Date,
the Debtor will be discharged from any debt that arose before confirmation of this Plan,
to the extent specified in § 1141(d)(1)(A) of the Bankruptcy Code, but the Debtor will not
be discharged of any debt: (i) imposed by this Plan; (ii) of a kind specified in
§ 1141(d)(6)(A) if a timely complaint was filed in accordance with Federal Rule of
Bankruptcy Procedure 4007(c) of the; or (iii) of a kind specified in § 1141(d)(6)(B).

                                  Article XIV. Miscellaneous

16.01 Definitions and Rules of Construction. The definitions and rules of construction set forth
in § 101 and § 102 of the Bankruptcy Code shall apply when terms defined or construed in the
Bankruptcy Code are used in this Plan.

16.02 Effective Date of Plan. The effective date of this Plan is the first business day following
the date that is fourteen days after the entry of the order of confirmation. If, however, a stay



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of the confirmation order is in effect on that date, the effective date will be the first business
day after the date on which the stay of the confirmation order expires or is otherwise terminated.

16.03 Severability. If any provision in this Plan is determined to be unenforceable, the
determination will in no way limit or affect the enforceability and operative effect of any other
provisions of this Plan.

16.04 Binding Effect. The rights and obligations of any entity named or referred to in this Plan
will be binding upon, and will inure to the benefit of, the successors or assigns of such entity.

16.05 Appendices. The Appendices attached to the Plan are incorporated into the Plan by
reference as if the same were fully rewritten herein.

16.06 Captions. The headings contained in this Plan are for convenience of reference only and
do not affect the meaning or interpretation of this Plan.

16.07 Controlling Effect. Unless a rule of law or procedure is supplied by federal law
(including the Bankruptcy Code or the Federal Rules of Bankruptcy Procedure), the laws of
the State of Maryland govern this Plan and any agreements, documents, and instruments
executed in connection with this Plan, except as otherwise provided in this Plan.

16.08 Corporate Governance. Section 1123(a)(6) of the Bankruptcy Code is inapplicable as
there is not more than one class of voting equity securities.

                          Article XV. Plan Proposed in Good Faith

The Debtor represents that it is within Debtor’s ability to carry out this Plan, and the Plan is
submitted in good faith.

                           Article XVI. Retention of Jurisdiction

The Court shall retain jurisdiction of this Chapter 11 case to issue orders necessary to the
consummation of the Plan; to determine the allowance of compensation and expenses of
professionals; to determine any and all adversary proceedings, applications and contested
matters; to determine issues or disputes relating to the assumption of executory contracts and
any claims related thereto; to determine disputes as to classification or allowance of claims or
interests; to issue such orders in aid of execution of this Plan to the extent authorized by § 1142
of the Bankruptcy Code; to enforce the provisions of the Plan; to recover all assets of the Debtor
and property of the Debtor’s estate, wherever located; to resolve any dispute between or among
any of the parties to this bankruptcy proceeding, to determine other such matters as may be set
forth in a confirmation order or as may be authorized under the provisions of the Bankruptcy
Code; to enter a final decree closing the bankruptcy case; and to correct any defect, cure any
omission or reconcile any inconsistency in this Plan or confirmation order, and to take any
action or make any ruling as may be necessary to carry out the purpose and intent of this Plan.




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Dated: August 7, 2020                    PARKING MANAGEMENT, INC.


                                  By:     /s/ Kingdon Gould, III
                                         Kingdon Gould, III
                                         President


Counsel for Debtor:

/s/ Michael J. Lichtenstein
Michael J. Lichtenstein (Bar No. 05604)
Shulman, Rogers, Gandal, Pordy & Ecker, P.A.
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Email: mjl@shulmanrogers.com
Attorneys for Debtor




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                             CERTIFICATE OF SERVICE

       I hereby certify that on the 7th day of August, 2020, notice of filing the Debtor’s
Chapter 11, Subchapter V Plan, was served by CM/ECF to those parties listed on the docket
as being entitled to such electronic notices, which parties are identified below:

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       Jackson David Toof jackson.toof@arentfox.com

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And via electronic mail, to:

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                                     /s/ Michael J. Lichtenstein
                                     Michael J. Lichtenstein




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                                         Appendix A
                                  (Debtor’s Business History)

       A.      Nature and History of the Debtor’s Business or Commercial Activities:

               PMI is one of the largest and most respected parking operators in the

Mid-Atlantic region. Founded in 1947 by Kingdon Gould, Jr., and D.F. Antonelli, Jr., PMI is

a private corporation incorporated in the State of Maryland, and is headquartered at 1725

DeSales Street, NW, Washington, D.C. 20036.

               As of April 30, 2020, PMI leased or managed approximately 100 parking

facilities throughout the Northern Virginia, Washington, D.C. and Baltimore, MD metropolitan

areas and employed 191 employees. The Debtor has experience in leasing and managing all

levels of commercial and residential parking operations. The Debtor employs two basic

structures for its parking operations. Under the first structure, the Debtor leases a parking lot

from a property owner, operates the parking facility, and pays rent to the owner. Under the

second structure, the Debtor manages a parking facility for the property owner pursuant to a

management agreement and receives a management fee as compensation for doing so. Of the

100 parking facilities operated by PMI prior to the Petition Date, 42 were operated pursuant to

leases and 58 were operated pursuant to management agreements.

       B.      Ownership Structure of the Debtor’s Business or Commercial Activities:

               PMI is 100 percent owned by the Gould family. The largest shareholder is the

Estate of Kingdon Gould, Jr. The Debtor has no secured funded debt obligations. The Debtor’s

liabilities, as of the Petition Date, were approximately $7.2 million (excluding debts and

obligations owed to insiders and affiliates of the Debtor). This includes liabilities arising under

various parking lot leases and parking lot management agreements, prepetition employee

wages for the current wage period (for which the Debtor received authority to pay pursuant to

a wage motion), and certain trade credit obligations.




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        C.       Description of the Performance of the Debtor’s Business or
                 Commercial Activities in the Three Years Before the Bankruptcy
                 Filing and the Events Leading to the Debtor’s Bankruptcy Filing:

                 In Fiscal Year 2018 and Fiscal Year 2019, the Debtor reported consolidated net

revenue of $87,323,000 and $86,056,100, respectively. Revenue fell $1.3 million from Fiscal

Year 2018 to Fiscal Year 2019, or -1%. The Debtor experienced a loss from operations in the

amount of $1,113,300 in Fiscal Year 2018, and approximately $1,902,000 in Fiscal Year 2019.

While driving continues to be the preferred method of transportation for many D.C. commuters,

the demand for parking has been affected by the increased use of mass transit,2 ride-sharing

services (such as Uber and Lyft), and telecommuting.3 In addition, the Debtor’s number of

locations has declined since Fiscal Year 2015.

                 1.       Onset and Impact of COVID-19

                          Like so many other small businesses in the area and throughout the

country, the Debtor’s revenues declined dramatically as a result of COVID-19 and the actions

taken in response to it by government entities and private businesses. In March 2020, non-

essential businesses were ordered to shut down and shelter-in-place orders were issued for

Washington D.C., Maryland and Virginia. Many people in the area were laid off from their

jobs. Those who still had jobs were, with very limited exceptions, working remotely. These

people have little or no need for parking lots. As a result, revenues dropped precipitously

across the Debtor’s portfolio of parking lots, impairing its ability to pay its operating expenses,

including rent owed under its parking lot leases.




2
    See DePuyt, Bruce. “Survey Shows Fewer D.C.-Area Commuters Are Driving Solo.” Maryland Matters, 18
    Sept. 2019, www.marylandmatters.org/2019/09/18/survey-shows-fewer-d-c-area-commuters-are-driving-
    solo/.
3
    In a Washington Post poll, “[m]ost residents, 61 percent, say they used Uber, Lyft or a similar service in the
    past year. Six years ago, when the services were just becoming popular, 13 percent of residents said they had
    ever used a ride service.” https://www.washingtonpost.com/local/trafficandcommuting/the-car-is-still-king-
    in-the-washington-region-post-shar-school-poll-finds/2019/06/06/106ce1b4-86df-11e9-a491-
    25df61c78dc4_story.html.


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                       The Debtor’s management took proactive measures to address the

situation. First, it undertook a thorough analysis of its business operations, in an effort to

determine whether the business could remain viable, and what sort of restructuring would be

necessary in order for that to occur. Second, it engaged legal counsel to help it evaluate its

restructuring options. Third, it endeavored to manage cash carefully, so as to put the Debtor

in the best possible position to ride out the storm. Fourth, on or about April 5, 2020, the Debtor

submitted an application (the “PPP Loan Application”) with Truist Bank4 for financing under

the Paycheck Protection Program (the “PPP”), which was implemented as part of the

Coronavirus Aid, Relief, and Economic Security Act (the “CARES Act”). On April 30, 2020,

the PPP Loan Application was approved, and on May 1, 2020, the loan was funded in the

amount of approximately $1,800,000, providing the Debtor with a much needed liquidity

infusion to sustain its operations.

                       Notwithstanding receipt of the PPP funds, PMI still requires a

restructuring, including, without limitation, to adjust its operational footprint, reduce operating

costs, focus on profitable locations and business operations, preserve jobs, and thereby attempt

to ensure that it will be poised for long term growth following conclusion of the COVID-19

pandemic. To accomplish this, the filing of this Chapter 11 Case was necessary. It provides

the Debtor with the only economic and practical solution to achieve the necessary restructuring.

The recently enacted Small Business Reorganization Act will enable the Debtor to achieve the

necessary restructuring more quickly and efficiently, and at a lower cost, than a traditional

Chapter 11 reorganization.

                       The restructuring began prior to the Petition Date with the closing of

twelve of the Debtor’s leased locations. The combination of reduced revenue and rent



4
    On December 6, 2019, SunTrust Bank (“SunTrust”) merged with Branch Banking and Trust Company
    (“BB&T”) and the combined bank is now known as Truist Bank (“Truist”).


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obligations (collectively totaling approximately $620,000 per month) resulted in

approximately $2.6 million in operating losses for FY 2019 from these locations. Had these

locations been closed at the beginning of Fiscal Year 2019, the Debtor would have earned a

profit of approximately $700,000 instead of the reported loss of approximately $1,902,000.




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                                                 Appendix B
                                       (Classification and Treatment of
                                            Claims and Interests)


Class No.     Description of Claims or       Total Amount of Proposed Treatment                      Estimated
              Interests in Class             Claims or       Under Plan (including                   Percentage
                                             Interests in    whether impaired)                       Recovery5
                                             Class
              Administrative
              Shulman Rogers                   $300,000            Payment after the                 100%
              Debtor’s Counsel                 (estimated)         Effective Date after Court
                                                                   approval of fees and
                                                                   expenses
              Monique Almy                     $80,000             Payment after the                 100%
              Subchapter V Trustee             (estimated)         Effective Date after Court
                                                                   approval of fees and
                                                                   expenses
              JW Infinity Consulting,          $370,000            Payment after the                 100%
              LLC/Jolene Wee                   (estimated)         Effective Date after Court
              Financial Consultant                                 approval of fees and
                                                                   expenses
              Unsecured claims                 $12,343,934         Impaired. Payment of              31%
                                                                   NOI for three years after
                                                                   payment of allowed
                                                                   administrative expenses




 5
   Total claims based upon schedules as amended and proofs of claim. The Debtor reserves the right to object to
 claims and to seek recovery of avoidable transfers.


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                                                 Appendix C
                                            (Liquidation Analysis)


The liquidation analysis presents two scenarios: a forced liquidation, under which assets are
sold as quickly as possible, and an orderly liquidation, which assumes a reasonable time
period for the liquidation of the assets at market prices under normal market conditions.6 The
assumptions underlying the Liquidation Analysis include:
    • The forced liquidation begins on October 1, 2020 and is complete by October 31,
        2020.
      •    The orderly liquidation begins on October 1, 2020 and is complete by December 31,
           2020.
      •    All lots have been closed on September 30, 2020; there are no further revenues or
           operating expenses.
      •    Accrued administrative expenses are paid.
      •    A small number of employees remain to manage the liquidation.
      •    The price for the sale of the largest asset, a parcel of real estate, was determined by an
           appraiser. The projected proceeds were discounted based on various factors,
           including the appraiser’s estimation of twelve to eighteen months to close a fair
           market sale and the assumed environmental contamination of the property, the extent
           of which is unknown.
      •    Neither liquidation scenario contemplates a going concern sale of the Debtor’s
           business operations for reasons including the non-transferability of certain leases and
           contracts.
The liquidation values in both the forced liquidation scenario and the orderly liquidation
scenario provide a lower return to creditors than under the Plan.




6
    Definitions per the Association of Insolvency and Restructuring Advisors.


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                                            Liquidation Analysis


                                                                   Projected Liquidation Scenarios
                                                                     Forced              Orderly
                                                                   Liquidation         Liquidation
                                                                    (1 month)          (3 months)

Projected cash balance - October 1, 2020                         $   2,600,000        $     2,600,000

Receipts
   Collection of Accounts Receivable                                    45,000                 45,000
   Asset sale proceeds                                               2,830,000              3,630,000
Total receipts                                                       2,875,000              3,675,000

Accounts Payable (administrative expenses
   Wages for remaining employees (including tax and fringe)             (75,600)            (226,800)
   Office Rent and other office expenses                                (62,000)            (186,000)
   Parking tax for previous month                                      (112,000)            (112,000)
   Other Post-petition Payables (administrative expenses)               (50,000)             (50,000)
Total Accounts Payable                                                 (299,600)            (574,800)

NOI and Percentage Rent
   NOI for September                                                   (750,000)            (750,000)
   Percentage Rent for September                                        (77,000)             (77,000)
Total rent and NOI                                                     (827,000)            (827,000)

Liquidation Costs
   Employee PTO accrued                                                (615,000)            (615,000)
   Disposal costs                                                      (100,000)            (100,000)
   Chapter 7 Trustee Fees
    Trustee Fees                                                       (100,000)            (125,000)
    Trustee Professionals and Expenses                                 (150,000)            (200,000)
Total Liquidation Costs                                                (965,000)          (1,040,000)

Net cash flow                                                          783,400              1,233,200

Total available for distribution to creditors                    $   3,383,400        $     3,833,200




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                                             Appendix D
                                    (Projected Disposable Income)7

    I.   Projected NOI

                                                                                 FY 2021
                                                            31-Dec-20     31-Mar-21    30-Jun-21       30-Sep-21
REVENUE
Leased lot revenue                                         $ 2,577,765 $ 2,772,650 $ 2,989,100 $ 3,302,520
Managed lot fees                                               192,030       192,030       192,030       192,030
Total Revenue                                              $ 2,769,795 $ 2,964,680 $ 3,181,130 $ 3,494,550
EXPENSES
Expenses - Leased Lots
 Rent (including percentage rent)                            1,833,940     1,940,000      2,018,830     2,142,500
 Personnel expense (including tax & fringe)                    393,750       393,750        393,750       393,750
 Other direct and allocated expenses                           150,000       150,000        150,000       150,000
Total Expenses - Leased Lots                                 2,377,690     2,483,750      2,562,580     2,686,250
Operations Overhead                                            363,110       369,110       374,750       419,110
Selling, General & Administrative Expenses                     593,755       595,735       593,755       625,735
Total Expenses                                               3,334,555     3,448,595      3,531,085     3,731,095
PROJECTED NET OPERATING INCOME                             $ (564,760) $ (483,915) $ (349,955) $ (236,545)
                                             Annual
Cost reduction programs                      savings
 IT / Telecom consolidation                  125,000            31,250        31,250        31,250        31,250
 1Q 2021 headcount reduction                 897,970           224,490       224,490       224,490       224,490
 3Q 2021 headcount reduction                 213,990                 -             -        53,500        53,500
 Office space consolidation                  240,000                 -             -        60,000        60,000
 Fringe savings from furloughed staff        170,060            42,515        42,515        42,515        42,515
Net savings (decrease in expenses)                             298,255       298,255       411,755       411,755

PROJECTED NET OPERATING INCOME                             $ (266,505) $ (185,660) $         61,800 $ 175,210
  AFTER COST REDUCTION PROGRAMS




7
 To the extent revisions are necessary due to assumption/rejection of management contracts or leases or revenue
adjustments, the Debtor reserves the right to file amended projections prior to the confirmation hearing.


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 I.     Projected NOI
(continued from previous page)
                                                                                  FY 2022
                                                           31-Dec-21       31-Mar-22    30-Jun-22    30-Sep-22
REVENUE
Leased lot revenue                                         $ 3,680,815 $ 4,080,865 $ 4,420,100 $ 4,634,550
Managed lot fees                                                192,030      192,030       192,030     192,030
Total Revenue                                              $ 3,872,845 $ 4,272,895 $ 4,612,130 $ 4,826,580
EXPENSES
Expenses - Leased Lots
 Rent (including percentage rent)                              2,205,420    2,318,720    2,456,780   2,596,320
 Personnel expense (including tax & fringe)                      393,750      393,750      393,750     393,750
 Other direct and allocated expenses                             150,000      150,000      150,000     150,000
Total Expenses - Leased Lots                                   2,749,170    2,862,470    3,000,530   3,140,070
Operations Overhead                                             419,110      420,000       420,000     420,000
Selling, General & Administrative Expenses                      650,735      625,000       625,000     625,000
Total Expenses                                                 3,819,015    3,907,470    4,045,530   4,185,070
PROJECTED NET OPERATING INCOME                             $     53,830 $ 365,425 $        566,600 $ 641,510
                                             Annual
Cost reduction programs                      savings
 IT / Telecom consolidation                  125,000             31,250       31,250        31,250      31,250
 1Q 2021 headcount reduction                 897,970            224,490      224,490       224,490     224,490
 3Q 2021 headcount reduction                 213,990             53,500       53,500        53,500      53,500
 Office space consolidation                  240,000             60,000       60,000        60,000      60,000
 Fringe savings from furloughed staff        170,060             42,515       42,515        42,515      42,515
Net savings (decrease in expenses)                              411,755      411,755       411,755     411,755

PROJECTED NET OPERATING INCOME                             $ 465,585 $ 777,180 $           978,355 $ 1,053,265
  AFTER COST REDUCTION PROGRAMS




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 I.     Projected NOI
(continued from previous page)
                                                                               FY 2023
                                                           31-Dec-22    31-Mar-23 30-Jun-23      30-Sep-23
REVENUE
Leased lot revenue                                         $4,771,550 $ 4,811,430 $ 4,819,000 $ 4,822,835
Managed lot fees                                             192,030      192,030     192,030      192,030
Total Revenue                                              $4,963,580 $ 5,003,460 $ 5,011,030 $ 5,014,865
EXPENSES
Expenses - Leased Lots
 Rent (including percentage rent)                           2,683,160   2,759,980    2,763,030   2,764,040
 Personnel expense (including tax & fringe)                   393,750     393,750      393,750     393,750
 Other direct and allocated expenses                          150,000     150,000      150,000     150,000
Total Expenses - Leased Lots                                3,226,910   3,303,730    3,306,780   3,307,790
Operations Overhead                                          420,000      420,000     420,000      420,000
Selling, General & Administrative Expenses                   625,000      625,000     625,000      625,000
Total Expenses                                              4,271,910   4,348,730    4,351,780   4,352,790
PROJECTED NET OPERATING INCOME                             $ 691,670 $ 654,730 $ 659,250 $ 662,075
                                             Annual
Cost reduction programs                      savings
 IT / Telecom consolidation                  125,000          31,250       31,250      31,250       31,250
 1Q 2021 headcount reduction                 897,970         224,490      224,490     224,490      224,490
 3Q 2021 headcount reduction                 213,990          53,500       53,500      53,500       53,500
 Office space consolidation                  240,000          60,000       60,000      60,000       60,000
 Fringe savings from furloughed staff        170,060          42,515       42,515      42,515       42,515
Net savings (decrease in expenses)                           411,755      411,755     411,755      411,755

PROJECTED NET OPERATING INCOME                             $1,103,425 $ 1,066,485 $ 1,071,005 $ 1,073,830
  AFTER COST REDUCTION PROGRAMS




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 II.   Assumptions under which the projections were made


For the purposes of projecting the Debtor’s NOI as defined by § 1191(d) of the Bankruptcy
Code, the Debtor considered the following economic factors:
   •   The projected COVID-19 timeline, including the possibility of a vaccine available
       early in 2021;
   •   Employment, including high unemployment in the Washington DC metro region in
       the short term due to social distancing measures, projected strong long-term
       employment and expansion of government employment;
   •   The effect of various federal stimulus packages;
   •   The evolution of telecommuting options;
   •   The availability and use of public transportation;
   •   Expansion of the federal government;
   •   High disposal incomes in the region
           o Washington DC has the highest minimum wage
           o Washington DC and Maryland consistently lead the nation with high median
             household income;
   •   Amazon HQ2 presence
           o Projected $2.5 billion investment in the Washington DC region.
           o Targeted 25,000 new jobs; hired only 1,000 to date; and
   •   Transit, workplace, residential trends, retail and recreational trends.

In the short term, even though businesses located near PMI’s garages are now allowed to
reopen, many office buildings are phasing in their reopening. Certain restrictions such as
restaurants being required to operate at 50% of capacity for indoor dining and state mandates
involving facial coverings indoors have made it difficult for commercial activities to return
back to normal. However, while the world grapples with the uncertainties of COVID-19
now, economic data points to a strong long-term economic outlook for the Washington DC
metro region.

In addition to the twelve locations closed around the Petition Date, the Debtor has examined
and rejected several other leases. The Debtor has chosen to keep open the locations with the
most favorable characteristics, such as profitability, rent terms and/or customer demand.
However, when compared to the previous fiscal year, the contraction in the number of
locations naturally created a parallel contraction in revenue, which is further reduced by the
circumstances of the COVID-19 pandemic. Although removing the losses of the closed
locations will improve the net income, the Debtor will have to right size its overhead
structure commensurate with its new revenue level.




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The Debtor took a conservative approach to the Plan’s projections. Accordingly, the
projections assume the following:

   1. Leased Lots:

There are two types of parking revenues – monthly and daily parking fees.

Monthly parkers pay a fixed parking fee ranging from approximately $150 to $350 per
month. These customers are steady as their parking habits relate to their commute to their
workplace and their residence. Monthly parking revenues are based on the projected number
of monthly customers multiplied by the monthly parking fee for each lot.

Daily parking, however, depends on the timing of the parking as well as the duration.
For daily parking, for each lot, the number of parking spots available for daily parking will be
the remaining spots not already occupied by monthly parkers.

Each lot is projected separately and are rolled up by month and then by quarter as presented
in the Plan.

In each lot’s projections, monthly parking revenues are based on the number of monthly spots
or contracts sold every month for every lot. The daily parking revenues, however, are
projected based on percentage increases, if any, in daily parking revenues, not to exceed the
highest daily parking fees per parking spot achieved in the 18 months prior June 2020 for
every lot.

For each lot, the projections assume:

           a. Immediate term (October 2020 through June 2021) – Minimal increases in
              parking activities during the period.
           b. Intermediate term (July 2021 through December 2022) – Rebound in parking
              activities to return to normalized pre-COVID parking levels, not to exceed the
              highest daily parking fees per parking spot achieved in the 18 months prior
              June 2020.
           c. Long term (January 2023 through September 2023) – Regain maximum
              monthly highest parking revenues for leased lots.
       Prices are projected to remain relatively flat throughout the projection period.

   2. Managed lots:
      Management fees remain relatively flat throughout the projection period.
      Revenue and expenses of managed lots are pass-throughs: PMI collects the revenue
      and pays the expenses, keeps a management fee, then remits the net operating income
      to the property owner or agent.
   3. Expenses:
       While some expense line items remain approximately flat throughout the projection
       period, other major categories are reduced by cost reduction programs.



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III.   Payments under the Plan
(Projected Payments at Plan Confirmation)
                                                                    Projected
                                                                  Plan Effective
                                                                      Date
                                                                   10/1/2020
                                                                     FY 2020
                     Estimated payment date                         30-Sep-20

Beginning cash balance                                            $ 2,600,000

Funding of capital expenditures reserves      $       (200,000)

Projected NOI from Subchapter V Plan

Estimated Ch 11 Professional fees
  Debtor's counsel                                                     (300,000)
  Debtor's FA                                                          (370,000)
  Subchapter V trustee                                                  (80,000)
  Appraiser                                                              (2,900)

Cash available for distribution, net of working capital reserve

Projected distributions                             Total
 Cure payments                                      (4,785,802)       (1,000,000)
 General unsecured creditors                       (12,208,001)                -

Total distribution                                                $ (1,752,900)

Ending cash balance roll forward                                  $     847,100




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III.   Payments under the Plan
(continued from previous page)


                                                                   Post-Plan
                                                                 Confirmation
                                                                                             FY 2021
                     Estimated payment date                          31-Dec-20       31-Mar-21     30-Jun-21       30-Sep-21

Beginning cash balance                                           $      847,100 $       480,595 $     194,935 $       156,735

Funding of capital expenditures reserves      $     (200,000)               -               -             -               -

Projected NOI from Subchapter V Plan                             $     (266,505) $     (185,660) $     61,800 $       175,210

Working capital reserve level                                          (400,000)       (400,000)     (400,000)       (400,000)

Cash available for distribution, net of working capital reserve $       180,595 $      (105,065) $   (143,265) $      (68,055)

Projected distributions                            Total
 Cure payments                                     (4,785,802)          (50,000)        (50,000)      (50,000)        (50,000)
 General unsecured creditors                      (12,208,001)          (50,000)        (50,000)      (50,000)        (50,000)

Total distribution                                               $     (100,000) $     (100,000) $   (100,000) $     (100,000)

Ending cash balance roll forward                                 $      480,595 $       194,935 $     156,735 $       231,945




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III.   Payments under the Plan
(continued from previous page)


                                                                   Post-Plan
                                                                 Confirmation
                                                                                             FY 2022
                     Estimated payment date                          31-Dec-21       31-Mar-22     30-Jun-22      30-Sep-22

Beginning cash balance                                           $      231,945 $       472,530 $     524,710 $      478,065

Funding of capital expenditures reserves      $     (200,000)           (25,000)        (25,000)      (25,000)       (25,000)

Projected NOI from Subchapter V Plan                             $      465,585 $       777,180 $     978,355 $ 1,053,265

Working capital reserve level                                          (400,000)       (400,000)     (400,000)      (400,000)

Cash available for distribution, net of working capital reserve $       272,530 $       824,710 $ 1,078,065 $ 1,106,330

Projected distributions                            Total
 Cure payments                                     (4,785,802)         (100,000)       (500,000)     (500,000)      (500,000)
 General unsecured creditors                      (12,208,001)         (100,000)       (200,000)     (500,000)      (500,000)

Total distribution                                               $     (200,000) $     (700,000) $ (1,000,000) $ (1,000,000)

Ending cash balance roll forward                                 $      472,530 $       524,710 $     478,065 $      506,330




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III.   Payments under the Plan
(continued from previous page)

                                                                   Post-Plan
                                                                 Confirmation                                                      Total
                                                                                            FY 2023                              projected      %
                     Estimated payment date                          31-Dec-22      31-Mar-23     30-Jun-23      30-Sep-23     distributions recovery

Beginning cash balance                                           $      506,330 $      584,755 $     626,240 $      672,245

Funding of capital expenditures reserves      $     (200,000)           (25,000)       (25,000)      (25,000)       (25,000)

Projected NOI from Subchapter V Plan                             $ 1,103,425 $ 1,066,485 $ 1,071,005 $ 1,073,830               $ 7,373,975

Working capital reserve level                                          (400,000)      (400,000)     (400,000)      (400,000)

Cash available for distribution, net of working capital reserve $ 1,184,755 $ 1,226,240 $ 1,272,245 $ 1,321,075

Projected distributions                            Total
 Cure payments                                     (4,785,802)         (500,000)      (500,000)     (500,000)      (485,802)     (4,785,802)   100%
 General unsecured creditors                      (12,343,934)         (500,000)      (500,000)     (500,000)      (835,273)     (3,835,273)    31%

Total distribution                                               $ (1,000,000) $ (1,000,000) $ (1,000,000) $ (1,321,075)       $ (7,621,075)

Ending cash balance roll forward                                 $      584,755 $      626,240 $     672,245 $      400,000




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                                         Appendix E
                      (Assumed Executory Contracts and Unexpired Leases) 8
                                      Leased Locations

    Name and Address of Party to               Description of Executory              Proposed Cure
    Debtor’s Executory Contract                Contract                              Amount and
                                                                                     Anticipated Date of
                                                                                     Cure Payment
    Union Station Venture Corp.                131 M Street, NE                                 $198,587.25
    (PMI Location 20003)                       Washington, DC 20002

    Square 374, LLC                            900 New York Ave, NW                                    60,000.00
    (PMI Location 20009)                       Washington, DC 20001

    Square 407 Limited Partnership             875 D Street, NW                                       $29,156.71
    (PMI Location 20013)                       Washington, DC 20004

    Square 452, LLC                            600 Mass Ave, NW                                     $125,377.75
    (PMI Location 20014)                       Washington, DC

    South Capital, LLC                         25 M Street, NW                                               $0.00
    (PMI Location 20025)                       Washington, DC

    RPT1425 New York Avenue LLC                1425 New York Ave, NW                                $107,943.14
    (PMI Location 20042)                       Washington, DC 20005

    Pennsylvania Building Association,         1220 E Street, NW                                      $31,144.44
    LP                                         Washington, DC
    (PMI Location 20045)

    17 M Associates Limited Partners           1615 M Street, NW                                      $46,912.30
    (PMI Location 20049)                       Washington, DC 20036

    DeSales Associates                         1725 DeSales Street, NW                              $115,632.94
    (PMI Location 20051A)                      Washington, DC 20036

    CESC 1730 M Street, LLC                    1730 M Street, NW                                      $99,260.28
    (PMI Location 20051B)                      Washington, DC 20036

    2001 K LLC                                 2001 K Street, NW                                      $84,525.00
    (PMI Location 20075)                       Washington, DC


8
  Assumption is subject to agreement with landlords or other contract counterparties as to the amount and timing
of any cure payment and the term (including any extensions thereof) of the applicable leases or other agreements.
The Debtor reserves the right to reject any of the contracts or leases where agreement cannot be reached with a
landlord or contract counterparty. Accordingly, this Schedule is subject to amendment prior to confirmation of
the Plan.




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MAPS 1801 K Street LLC             1820 L Street, NW                               $936.04
(PMI Location 20078)               Washington, DC 20005

2000 L Owner LLC                   2001 K Street                                $34,176.00
(PMI Location 20080)               Washington, DC

1325 Owners LLC                    1325 G Street, NW                           $222,920.28
(PMI Location 20093)               Washington, DC 20005

Paris Associates Limited           1611 N. Kent Street                          $55,667.00
Partnership                        Arlington, VA 22209
(PMI Location 20107)

Geneva Associates Owner LLC        1777 N. Kent Street                          $76,194.00
(PMI Location 20108)               Arlington, VA 22209

Wilson Plaza East, LLC             1800 N. Kent Street                         $143,247.50
(PMI Location 20110)               Arlington, VA 22209

Foreign Affairs Recreation         22nd and C Streets, NW                        $7,649.10
Association                        Washington, DC 20520
(PMI Location 20122, 20123)        8500 N. Fort Meyer Drive
                                   Arlington, VA 22209

Maryland Dept. of General          300 W. Preston Street                        $17,442.48
Services                           Baltimore, MD 21201
(PMI Location 30203)

W.W. Grainger, Inc.                100 Grainger Parkway                          $2,080.36
(PMI Location 30230)               Lake Forest, IL 60045

Fourth Gould Ltd Partnership       810 N. Charles Street                        $15,450.00
(PMI Location 30208)               Baltimore, MD 21201

Fourth Gould Ltd Partnership       1010 N. Charles Street                        $1,200.00
(PMI Location 30210)               Baltimore, MD 21201

A&G Ltd Partnership                910 N. Charles Street                        $12,016.66
(PMI Location 30209)               Baltimore, MD 21201

A&G Ltd Partnership                1000 N. Charles Street                       $13,733.34
(PMI Location 30210)               Baltimore, MD 21201

TOTAL:                                                                        $1,501,252.57




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                                  Appendix E
                (Assumed Executory Contracts and Unexpired Leases)
                              Managed Locations

Name and Address of Party to     Description of Executory       Proposed Cure Amount
Debtor’s Executory Contract      Contract                       and Anticipated Date of
                                                                Cure Payment
3307 M Street, LP                3333 M Street, NW                           $71,289.64
(PMI Location 1006)              Washington, DC 20007
3345 M Street LP                 3307 M Street, NW
(PMI Location 1007)              Washington, DC 20007

Jaguar Properties                1212 New York Ave, NW                          $15,196.87
(PMI Location 10012)             Washington, DC 20005

Bozzuto Management Company       625 Monroe Street, NE                               $0.00
(PMI Location 10015)             Washington, DC 20005

JBG Smith                        1825 CT Ave, NW                              $2,655,942.11
(PMI Locations 10018-10019,      Washington, DC 20009
10037-10038, 10052, 10056,       1875 CT Ave, NW
10072, 10081, 10083-10085,       Washington, DC 20009
10087-10089, 10101-10105,        6701 Democracy Boulevard
10131-10132)                     Rockville, MD
                                 1101 17th Street, NW
                                 Washington, DC 20036
                                 1900 N street, NW
                                 Washington, DC 20036
                                 201 12th Street
                                 Gateway North
                                 Arlington, VA 22201
                                 1750 Crystal Drive
                                 241 18th Street
                                 Crystal Square 3
                                 Arlington, VA 22202
                                 223 23rd Street
                                 Arlington, VA 22202
                                 1800 S. Bell Street
                                 Arlington, VA 22202
                                 200 12th Street
                                 Arlington, VA 22202
                                 1235 Clark Street
                                 Crystal City, VA
                                 1225 S. Clark Street
                                 Arlington, VA 22202
                                 1215 S. Clark Street
                                 Arlington, VA 22202
                                 2345 Crystal Drive
                                 Arlington, VA 22202


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                                    2100-2300 Clarendon Blvd
                                    Arlington, VA 22201

Bozzuto Management Company          3710 Newark St, NW                                 $0.00
(PMI Location 10020)                Washington, DC

1919 M Street Associates Limited    1919 M Street, NW                             $21,532.45
Partnership                         1227 20th Street, NW
(PMI Location 10027)                Washington, DC 20036

Gudelsky Company LLC                8630 Fenton Street                            $15,729.50
(PMI Location 10036)                Silver Spring, MD 20910

1722 Eye Street Associates, LP      1722 Eye Street, NW                            $2,938.00
(PMI Location 10042)                Washington, DC 20006

Sodexo Operations LLC               1900 G Street, NW                                  $0.00
(PMI Locations 10043, 10045)        Washington, DC
                                    1900 Pennsylvania Avenue
                                    Washington, DC

City Center Parking, Inc.           1401 H Street, NW                             $58,148.61
(PMI Location 10046)                Washington, DC 20005

1150 18th SPE L.L.C.                1150 18th Street, NW                          $26,946.48
(PMI Location 10050)                Washington, DC 20036

Third Gould LLC                     2611 Jefferson Davis Hwy                     $127,330.25
Gould Jefferson Davis Highway       Arlington, VA 22202
  Parking Garage LLC                2711 Jefferson Davis Hwy
GA Crystal Drive Associates LLC     Arlington, VA 22202
(PMI Locations 10060, 10061,        2600 Crystal Dr
10062)                              Arlington, VA 22202

Columbia Plaza Limited              2400 Virginia Ave, NW                        $270,879.00
Partnership                         Washington, DC 20037
(PMI Location 10500)
CT Holding Co. LLC                  Riverdale Park Station                             $0.00
(PMI Location 10600)                460 Van Buren Street
                                    Riverdale, MD
Waterloo Group Limited              610 Calvert Street                             $5,366.35
Partnership                         Baltimore, MD 21202
(PMI Location 30130)
Bozzuto Management Company          80 W. Oliver Street                            $8,504.00
(PMI Location 30313)                Baltimore, MD 21217




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Merritt Canton BP LLC       2066 Lord Baltimore Drive                          $0.00
(PMI Location 30401)        Baltimore, MD 21244

Livestock LLC               1725 DeSales Street, NW                        $4,746.51
(PMI Location 10700)        Suite 900
                            Washington, DC 20036
TOTAL:                                                                  $3,284,549.77




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                                               Appendix F
                                      (Rejected Executory Contracts
                                         and Unexpired Leases) 9


    Name and Address of Party to            Description of Executory Contract                          Claim
    Debtor’s Executory Contract
    Massachusetts Court Apartments          300 Mass Ave, NW                                      $88,183.26
    LLC                                     Washington, DC 20005
    (PMI Location 10017)

    MEPT Anthology LLC                      625 H Street, NE                                      $17,772.77
    (PMI Locations 10026, 10029A,           Washington, DC
    10029B)




9
 The Debtor reserves the right to amend this exhibit prior to confirmation depending on the outcome of discussion
with landlords and contract counterparties.


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